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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

TANISHA SOLOMON individually and obo her   )
four minor children, DS, SS, KQ, and KS    )
                                           )
        Plaintiff                          )
                                           )
v.                                         )
                                           )                Docket No. 2:16-cv-00419-JAW
DETECTIVE THOMAS MURPHY, UNKNOWN )
OFFICERS, MIKE BUSSIERE, Lewiston Chief of )
Police, and CITY OF LEWISTON               )
                                           )
                                           )
        Defendants                         )


                                  STIPULATION OF DISMISSAL

       The parties, pursuant to Rule 41(1)(ii) hereby stipulate to the dismissal of the remaining

counts and defendants of the Second Amended Complaint, with prejudice and without costs to

any party.

       The parties hereby dismiss Count I and Defendant Thomas Murphy. It is the parties’

intention to dismiss all counts and all Defendants, with prejudice and without costs.



                                    FOR THE PLAINTIFFS


Dated: 3/15/2017                                            /s/ Michael J. Waxman
                                                            Attorney for Plaintiffs


                                   FOR THE DEFENDANTS


Dated: 3/15/2017                                            /s/ Edward R. Benjamin
                                                            Attorney for Defendants
